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  EXHIBIT 11
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Background and Qualifications

My qualifications, background and publications are summarized in the attached Curriculum
Vitae (CV) which can be found in Attachment B. Briefly, I have been engaged in the field of
occupational health and safety for over 40 years. I have a Bachelor of Science degree (BS) from
Oakland University at Rochester, Michigan (1972) and a Masters of Public Health degree (MPH)
from the University of Michigan at Ann Arbor, Michigan (1974).
I am certified by the American Board of Industrial Hygiene in the Comprehensive Practice of
Industrial Hygiene and have been so continuously since 1980 (last re-certified in 2018). In 2008,
I was awarded the Fellow Award by the American Industrial Hygiene Association (AIHA) for
my contribution to the practice of Industrial Hygiene. I have been a member of AIHA since
1973 and have served in leadership positions on several of their technical committees including
Hygienic Guides and Construction Safety. I have also held several leadership positions with the
Northern California Section of the AIHA, including President during 1984-1985. I am a
diplomate of the Academy of Industrial Hygiene. I also serve as a Board member on the
California Industrial Hygiene Council (CIHC) and have done so since 2006. I serve on the
Cal/OSHA Advisory Committee as a Science Member. I have served as a committee member on
several Cal/OSHA Technical Advisory Committees, including hazard communication, minimum
ventilation, asbestos, Title 8 reform, sensitizing substances, and others.
I have authored or co-authored three books and more than two dozen papers on industrial
hygiene and exposure to hazardous substances in occupational settings, and I have presented
numerous technical papers at professional conferences. I have personally reviewed and
conducted hundreds of assessments for various potentially hazardous substances, including
pesticides. The categories of environmental stresses I am routinely asked to evaluate include
chemical, biologic, physical, and ergonomic. I evaluate these stresses on the basis of observation
using my experience and training, and with the aid of quantitative and qualitative measurement
techniques.
Currently, I am the President and a Senior Occupational Health and Safety Consultant of The
Cohen Group, an occupational health and safety consulting firm I founded in 1980. Prior to The
Cohen Group, I was employed by the Aluminum Company of America, Stanford Research
Institute (now called SRI International), Intel Corporation, and Hewlett Packard Company (H-P).
At H-P, I was the Manager of Corporate Industrial Hygiene and Director of the Environmental
Laboratory, an AIHA-accredited laboratory. I was the Corporate Industrial Hygienist and
Assistant Manager of Corporate Health and Safety for Intel Corporation. At SRI, I was an
industrial hygienist and project manager where I conducted applied research, primarily for the
National Institute for Occupational Safety and Health (NIOSH). Much of my research efforts for
NIOSH involved characterization of exposures to chlorinated hydrocarbons and engineering
control studies. While employed at Alcoa, my work involved both industrial hygiene and
environmental issues primarily at domestic smelting operations.
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Summary of Information on Mr. Hernandez’s Exposure to Roundup®-branded Products
and Other Relevant Products

Based on the sworn testimony of Mr. Hernandez and other case-specific materials, I was able to
obtain the following information concerning Ines Hernandez Lopez’s alleged exposure to
Glyphosate, the manner in which he used Roundup®-branded products, and other relevant data
pertinent to my exposure assessment.
   x    Mr. Hernandez was born                    in Mexico and immigrated to the United States
        in 1984, specifically Southern California. Before moving to the US, he worked in the
        agriculture industry and took care of cattle, which he did since he was 15 years old.
   x    Upon arrival in the US, he worked at a factory that “made set up for crib” [pg 23, L 14-
        15] which he did for 7 years (1984 to 1991). For the next 2 to 3 years, Mr. Hernandez
        worked with fabric (1991-1993/94). He was off work for the next 2 to 3 years due to a
        back injury (1993/94 - 1995/1997). He returned to work again performing work with
        fabric where he testified that he worked for another 2 to 3 years (1997 to 2000). Mr.
        Hernandez then stated he began a gardening company in 1994 (discovery documents state
        Mr. Hernandez started this business in June 1994). It is unclear why Mr. Hernandez’s
        testimony concerning his work chronology does not seem to match his testimony when
        started his gardening work in June 1994 which is 10 years after moving to the US, but he
        testified he worked 11 to 13 years at other employments, and was off work for an
        additional 2 to 3 years.
   x    Mr. Hernandez stated he worked as a gardener until 2015. During this period of time, he
        had 5 employees and had 30 customers.
   x    In 2009, Mr. Hernandez was diagnosed with Non-Hodgkins Lymphoma (NHL) and did
        not work for 5 years (2009 to 2014). In 2015 he started working with an investor,
        providing gardening services with 2 employees at various properties performing work 3
        days per week.
   x    Mr. Hernandez testified that he began to use Roundup in 1997 and continued to use the
        product until 2009 (12 years). He also stated that he would occasionally use the product
        around his home, but subsequently stated he stopped using the product following his
        diagnosis. He stated that he always purchased the Concentrate Fast Act product in the
        same size container (believed to be 64 oz). He stated that he used 7 gallons of the
        concentrate mix each week for 7 months a year.
   x    Mr. Hernandez testified that he used personal protective equipment consisting of gloves,
        goggles and a mask, but stated “sometimes I didn’t use anything” [pg 49, L18-19]. He
        stated he would wear the mask “once or twice per week”. Depending on the outdoor
        temperature, he would wear a T-shirt or long-sleeved T-shirt, long pants and work boots.
        This same clothing would be worn during product mixing and application. He stated that
        he would wash his hands following product mixing.
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   x    Mr. Hernandez testified that he read the product label “the first time” [pg 53, L 2] and
        would use the cap to measure the proper amount of the mixture, but may use more of the
        product if he thought it was necessary. He would also use this same product at his home
        as needed, e.g., weeds along the fence or the driveway.
   x    He testified that he used a 1 gallon hand-held sprayer and a 5 gallon backpack sprayer for
        application of the product. During the site inspection, four, 1 gallon hand-held sprayers
        were observed as well as one, 3 gallon backpack sprayer. No 5 gallon backpack sprayer
        was observed during the site inspection. He stated that he began using the backpack
        sprayer in 1999. Application from the sprayers was through a hand-held wand with a
        regulator. Mr. Hernandez was clear that he would only do targeted spraying and would
        spray in a downward direction only.
   x    Mr. Hernandez testified that when spraying, he would sometimes feel the spray on his
        face or arms if it was a windy day when spraying. He also stated that he would feel the
        spray on his face when pumping, but would wash his face with water. He stated that he
        would sometimes feel liquid on his back when using the backpack sprayer and would use
        “wet hands” [pg 66, L 10] to clean off his back.
Opinions

   1. Based on Mr. Hernandez’s sworn testimony concerning his work with Roundup
      Concentrate Fast Act, and from observations made during my site inspection, it is my
      professional Industrial Hygiene opinion that his exposure to Glyphosate would be well
      within acceptable limits of exposure, if he was exposed at all.

Mr. Hernandez testified that he purchased a gardening business in 1994. However, his stated
work chronology while in the United States conflicted with the start of this business in that he
was working for other employers at the time. He testified that he began to use Roundup in 1997
and continued to use the product until 2009. He also stated that he would occasionally use the
product around his home, but subsequently stated he stopped upon his diagnosis of NHL.
He testified that he purchased the product in the same container size, believed to be 64 oz.
Following mixing, he stated he applied the product from a 1 gallon hand-held sprayer or from a 5
gallon backpack sprayer. However, during my site inspection I only observed 1 gallon sprayers
and a 3 gallon backpack sprayer.

Mr. Hernandez stated that he wore gloves, goggles and mask when using the product but stated
“sometimes I didn’t use anything”. He also stated he would wear the mask “once or twice per
week”. He would wear a short sleeve or long sleeve T shirt, long pants and work boots when
mixing and applying the product.

Mr. Hernandez testified that when spraying, he would sometimes feel the spray on his face or
arms if it was a windy day when spraying. He also stated that he would feel the spray on his face
when pumping, but would wash his face with water. He stated that he would sometimes feel
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liquid on his back when using the backpack sprayer and would use “wet hands” to clean off his
back. During the site inspection, the backpack sprayer was filled with water, pressurized and
used along the driveway with the applicator wand pointed in a downward position as if applying
the product. It was clear that the spray was very directed and there was no observed misting on
the driveway outside of the point of application, even though it was a windy day (up to 12 mph
as reported at Long Beach Airport).

Mr. Hernandez stated that he would spray various properties for up to 7 months per year on a
weekly or bi-weekly schedule. The spray schedule for the properties discussed during the
deposition is shown in the attached calculation. My conservative estimate of time of spraying as
shown is 160 to 335 minutes/week during the 7 months of product use. During these 7 months,
Mr. Hernandez stated he would spray 7 gallons/week. That being the case, as shown in my
calculations, Mr. Hernandez would need to purchase 3 containers of Roundup per month. Based
on one receipt presented during his deposition, Mr. Hernandez purchased one container at a time.
In an attempt to determine Mr. Hernandez’s dermally absorbed dose of Glyphosate, I made very
conservative estimates of exposure which are shown in my calculations see Attachment B. The
basis for these calculations is the American Industrial Hygiene Association publication on
mathematically estimating occupational exposure to chemicals, specifically Chapter 13 which
details dermal exposure modeling1. The values used for the calculations were Mr. Hernandez’s
testimony and the information obtained from the scientific literature. Furthermore, when there
were unknowns, conservative estimates were made. These values are described below.
Given the density of Glyphosaate and the instructions for product mixing, which Mr. Hernandez
stated he followed, Mr. Hernandez used about 35 grams of Glyphosate per day of spraying,
assuming he worked a 5 day workweek. If, however, he worked 7 days, his daily product usage
would be less.
A dermal absorbed dose rate was calculated based on Mr. Hernandez’s average daily usage rate,
which is referred to as an “event”. The basis for this calculation is the calculated average time of
spraying per day based on Mr. Hernandez’ testimony.
The scientific literature reports the flux (or dermal permeability) for Glyphosate to be between
0.01 to 0.059 ug/cm2/hr (when adjusted for the same units of measure). For this calculation, I
used the maximum reported flux for Glyphosate reported in the literature [Neilson 2009].
Although the frequency that Mr. Hernandez may have had some of the spray solution land on his
skin during his work with the product is unknown, if it occurred at all, it is clear from his
testimony that the application was from a hand-held wand which was pointed downward to the
specific area where the spray solution was to be applied. Furthermore, it was clear from using

1
 Keil, CB, ed., et. al., Mathematical Models for Estimating Occupational Exposure to Chemicals, 2 nd Edition,
American Industrial Hygiene Association, Fairfax, VA, 2009
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the backpack sprayer during the site inspection that the wand would direct the spray to a point
source with no observable misting and the spray would be emitted from the wand at a point
below the knee. Even if some misting occurred, it is more likely than not that the spray would
land on the front of the leg below the knee and possibly on the foot. Mr. Hernandez stated that
he would “sometimes…. feel [a mist] on my face or here on my arms when the wind hit.” He
also stated that he would feel the mist on his face when pumping but would wash his face. Based
on his testimony and to account for these periodic occurrences when he believes some of the mist
would land on his arms and face, the calculation assumes that his legs (front and back and thighs)
would be the skin surface receiving some of the misting. This more than doubles the surface
area of just the lower leg skin surface.
Concerning exposure to the legs, Mr. Hernandez stated that he wore long pants similar to the
ones worn by mechanics. Oltmanns 2016 evaluated the effectiveness of personal protective
equipment against dermal exposure. He cited the Fenske study evaluating lindane in a dust
formulation and found the cotton workpants to offer a 91.4% exposure reduction. Oltmanns also
cited the Driver and Ross study of pesticide handlers wearing single layer clothing including
long pants and found for mixers/loaders, flaggers, applicators an exposure reduction of
approximately 90%. He cites an exposure reduction of 91.31% from the use of backpack sprayer
when the above stated clothing is worn (see Table 5.21). For my calculation of exposure, I
assumed only a 50% reduction, an extraordinarily conservative estimate base on the scientific
literature.
Mr. Hernandez’s actual body weight is unknown. As such I used 70kg which is a common
weight cited in the literature for these types of assessments.
Based on these above conservative values, as shown in my calculations, the dermal absorbed
dose of Glyphosate Mr. Hernandez’s experienced on a spraying day ranged from 0.000705 to
0.0016 mg/kg/day.
Since Mr. Hernandez testified that he only used Roundup 7 months a year, his average daily
dermal absorbed dose ranged from 0.00029 to 00064 mg/kg/day.
EPA chronic reference dose (RfD) for Glyphosaate is 1.75 mg/kg/day which is “an estimate of
the quantity of chemical that a person could be exposed every day for the rest of their life with
no appreciable risk of adverse health effects.” The EU Acceptable Operator Exposure Limit is
0.1 mg/kg. These dose limits are orders of magnitude above the conservative estimates of
exposure. For example, the calculated average daily dermal absorbed dose is 2,734 to 6,034
times lower than the EPA Reference Dose and 156 to 345 times below the EU limit.
The State of California through the Office of Environmental Health Hazard Assessment
(OEHHA) pursuant to California’s Proposition 65 has established a No Significant Risk Level
(NSRL) for Glyphosate. The NSRL for Glyphosate has been set at 1.1 mg/day. This regulatory
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limit is also orders of magnitude above my conservatively calculated dermal dose for Mr.
Hernandez.
It is my professional Industrial Hygiene opinion that Mr. Hernandez’s exposure to Glyphosate is
well within governmental established acceptable limits of exposure, if he was exposed at all.
This is based on extremely conservative dermal dose estimates. Based on these calculations, Mr.
Hernandez’s daily dermal dose to Glyphosate from his use of Roundup is orders of magnitude
within a lifetime acceptable dose where ill effects would not be expected.
During my site inspection, I found several products in Mr. Hernandez’s garage which contain
petroleum hydrocarbons, including motor oil, transmission fluid, gas treatment, gear oil, wheel
cleaner, power steering fluid, and octane booster. In addition to these petroleum products, I
found anti-freeze coolant (generally ethylene glycol), epoxies, tile grout, and latex paints. Mr.
Hernandez’s frequency and use of these products is unknown but they may pose an exposure to
the volatile compounds during their use.

   2. Regulatory agencies worldwide have determined there is no carcinogenic risk from
      exposure to Glyphosate-Based Herbicides. IARC concluded that Glyphosate was a
      “probable” carcinogen, a term that IARC defines as “limited” evidence.

Multiple regulatory agencies have reviewed the potential carcinogenicity of Glyphosate and only
one has concluded that Glyphosate is a “probable carcinogen”. The International Agency for
Research on Cancer (“IARC”) concluded Glyphosate was a probable carcinogen based on
limited evidence in humans. [See IARC 2015]. The IARC preamble notes that calling a
substance a carcinogen under IARC’s process does not quantitate the risk of cancer to people
from exposure to that substance, which may be minimal. The preamble draws the distinction
between “hazard” and “risk” by stating, “the Monographs assess the strength of evidence that an
agent is a cancer hazard. The distinction between hazard and risk is fundamental.” Therefore,
IARC is clear that they did not measure the risk of the probable cancer hazard to humans but
stated that the substance is a probable carcinogen hazard based on limited evidence. [See IARC
Preamble 2019]

Regulatory and scientific agencies from the U.S., Canada, Germany, the E.U., Australia, New
Zealand, Japan, and the United Nations have all found Glyphosate exposure from the use of
Glyphosate-based herbicides not to represent a carcinogenic risk. The proceedings of many of
these agencies span many years were subject to comment and/or peer-review, and were
conducted openly. EPA stated that their most recent “cancer evaluation is more robust than
IARC’s evaluation. IARC’s evaluation only considers data that have been published or accepted
for publication in the openly available literature. As a result, IARC only considered a subset of
the studies...”. [See EPA Interim Decision 2019]. Additionally, these agencies had access to
unpublished data submitted pursuant to regulatory requirements which was not considered by
IARC. It is therefore my professional opinion that unlike the aforementioned regulatory
agencies, IARC did not consider all of the available scientific literature and did not quantitate the
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risk from exposure. Therefore it is my professional opinion IARC’s conclusion is different than
many of the other scientific agencies from around the world.

    3. The main route of exposure to Glyphosate via use of Glyphosate-Based Herbicides is
         dermal. Published and unpublished data indicate dermal absorption of Glyphosate is
         Low. The presence of surfactants does not appear to affect dermal absorption.
Industrial Hygienists consider all routes of exposure at the workplace when characterizing
exposure to a chemical or biologic agent. Glyphosate is not volatile and field studies of
applicators of Glyphosate-based herbicides have shown that inhalation exposures to Glyphosate
are minimal. [See Jauhinien 1991, Edmiston 1995]. IARC states “monitoring [for Glyphosate]
in air is not a useful way of determining exposure in workers since most exposure occurs via the
dermal route.” Ingestion would be an inadvertent route of exposure. The main route of exposure
from use of Glyphosate-based herbicides, subject to work practices, appears to be dermal.
ATSDR states that “dermal contact appears to be the major route of exposure to Glyphosate for
people involved in its application.” [See ATSDR 2019, IARC 2015].

Glyphosate is a hydrophilic compound. The skin acts like a barrier to such compounds. Studies
using human skin samples demonstrate that dermal penetration of Glyphosate is “very low.”
Once dermally absorbed, the literature indicates that Glyphosate remains largely unchanged
within the body, is quickly excreted in urine, and does not bioaccumulate.

Multiple studies have examined the dermal absorption of Glyphosate and Glyphosate-based
herbicides [See e.g. Franz 1983, Nielsen 2009, Smith 2014]. Formulated Glyphosate-based
herbicides may contain surfactants such as polyoxyethene tallow amine (POEA) as one example.
It is my professional Industrial Hygiene opinion that the most relevant of these studies to the
human experience have used human skin in vitro, though there have also been studies using
animal models. Many of the more recent studies have stated that the test methodology used have
been conducted according to OECD guidelines, an internationally recognized protocol for the
testing of chemicals on excised skin.

The rate and percentage of absorption do not appear to be affected by the presence of surfactants
in formulations. Multiple studies indicate that the percentage of Glyphosate dermally absorbed
is affected by diluting the mixture. The presence of surfactants does not appear to significantly
affect absorption. For example, Franz 1983 shows that as the study transitioned from
Glyphosate, to a concentrated form of Roundup®, to a Roundup® spray mix, the percent of
Glyphosate absorbed increased each time even as the absolute amount of Glyphosate absorbed
declined. That’s despite the fact that the amount of surfactant in each formulation went from
none to a high level to a much lower level. Franz states, “absorption of Glyphosate was lowest
from the Roundup Spray Mix and this was in keeping with the much lower concentration of
Glyphosate in the Spray Mix formulation. It should be noted however, that on a relative basis
the percent absorption was actually greater from the Spray Mix formulation than from the other
two. This phenomenon has been observed before with other topically applied materials and is
related to the size of the applied dose. As the dose increases….the percent absorption falls off.”
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Clearly, the presence of the surfactants used in Glyphosate-based herbicides does not affect
absorption. Franz concludes that Glyphosate absorption through human skin was 0.03 to 0.15%
and that greater than 92% of the unabsorbed Glyphosate remained on the skin surface where it
was “readily removed” by a water wash. Other studies show similar results [See Ward 2010,
Smith 2014-2015, and Davies, 2015].

The small percentage of Glyphosate which is absorbed appears to quickly leave the body, largely
unmetabolized as mentioned above [ATSDR 2019]. Glyphosate has been found to have a short
half-life in the body. Laboratory studies have shown the majority of an intravenous dose of
Glyphosate administered to monkeys has been eliminated unmetabolized within twenty-four
hours. [Wester 1991; Maibach 1983]. The National Institute of Environmental Health Sciences
National Toxicology Program (NTP) reported that rats administered intravenous doses of
Glyphosate found that 98% of the Glyphosate was excreted in urine during the first twenty-four
hour period. [NTP 1992]. Following a seven day excretion period, Wester examined the bodies
of the topical skin treatment test subjects and determined that “there was no residual doses in
tissues or skin.” [Wester 1991]. In humans, biomonitoring studies show similar results. Peak
urinary excretion comes as soon as 3 hours after task completion and, by 24 hours later, urinary
concentration has fallen to background or near-background levels. [Connolly 2018].

All studies performed on human skin suggest very low dermal absorption. Industrial Hygienists
commonly determine the extent of dermal absorption by a measure of flux value, which is the
rate of absorption through the skin, and the percent absorbed. Franz 1983 and Nielsen 2009 have
reported the flux between 0.01 to 0.059 [as shown and converted to same units] ug/cm2/hr for
Glyphosate. No study using human skin indicates a percent of absorption greater than 2.2%
[Wester 1991] and most are below 1% [Franz 1983, Smith 2014, Ward 2010]. These results are
as expected for a hydrophilic compound like Glyphosate.


   4. Biomonitoring and passive dosimetry studies confirm that dermal absorption of
      Glyphosate from the use of Glyphosate-Based Herbicides is low and within regulatory
      limits of exposure.
In addition to dermal absorption studies, there are biomonitoring and passive dosimetry studies
that assess exposure and dose of Glyphosate in individuals applying Glyphosate-based herbicides
in a variety of exposure scenarios. These studies are very useful in assessing home and
workplace exposures including the quantity of Glyphosate that may land on the skin of
individuals during product usage and potentially absorb. The dose reported in these studies can
then be compared to toxicological and regulatory levels.

Overall, Glyphosate absorption has been recorded to range from 0.000013 mg/kg/day to 0.00456
mg/kg/day in biomonitoring studies. [See Bleeke 2007, Abdelghani 1995, as reported in
Solomon 2016]. In a 70 kg (approximately 150 pounds) individual, that would calculate to a
systemic daily dose of 0.00091 - 0.319 mg of Glyphosate a day, as follows:
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Passive dosimetry studies (studies that use gauze pads applied to the skin or clothing, or cassettes
placed in the breathing zone to capture airborne Glyphosate) reported doses approximately an
order of magnitude above and below the recorded biomonitoring doses described above. That
said, doses recorded by passive dosimetry remain low. [See Lavy 1992, Edmiston 1995].
Compared to regulatory and toxicological levels, absorbed doses of Glyphosate are extremely
low. Acquavella 2004 reports a maximum exposure dose of 0.004 mg/kg in a farmer-applicator,
a dose significantly higher than any other exposure reported in this or other studies.
Interestingly, that applicator was observed by the study authors to have skin contact with
Glyphosate while not wearing gloves and was also observed to smoke cigarettes while handling
Glyphosate (potential for incidental exposure by ingestion). [Acquavella 2004 at Figure 1]. The
dose of 0.004 mg/kg is 437.5 times lower than the EPA RfD of 1.75 mg/kg, and 25 times lower
than the EU Acceptable Operator Exposure Limit of 0.1 mg/kg. [See Tarazona 2017].
Therefore, it is my professional Industrial Hygiene opinion that the literature reports levels well
within acceptable exposure levels based on biomonitoring and passive dosimetry. Dermal
absorption, the primary route of exposure for Glyphosate, is very low and well below levels that
would be considered of increased risk of ill health.


    5. It is my professional Industrial Hygiene opinion that epidemiology studies of
       environmental health illnesses are stronger when they account for the extent of
       exposure to the alleged stressor. Epidemiologic studies that control for potential
       confounders as well are stronger than studies that do not. Such studies that consider
       exposures and confounding factors confirm the findings of many government
       regulators that there is no increased risk of NHL from the use of Glyphosate.

In a recognized Industrial Hygiene text by DiNardi2, it states that “in occupational epidemiologic
studies, one test for concluding the existence of cause and effect is the presence of an exposure-
response relationship.” [See DeNardi, pp 6-7, 1997] DiNardi further states “confounding is a
type of bias that [may] adversely affect the understanding of an exposure/disease relationship.”
[DiNardi pg 98] Thus, the need for exposure data and the need to control for confounding

2
 DiNardi, SR, ed, The Occupational Environment – Its Evaluation and Control, American Industrial Hygiene
Association, Fairfax, VA, 1997
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variables is important for determining risk of disease. Without consideration for dose and other
causal factors, a study may report an association between a stressor and outcome, without
recognizing a study bias. Unfortunately, the link to illnesses as reported in epidemiologic studies
generally does not consider such variables within the studied cohort. Meta-analyses or pooled
analyses that do not account for these issues also are subject to the same criticism.
Some epidemiological studies reported in the regulatory documents compare the rate of
lymphoma in individuals who “ever” used Glyphosate against those who “never” used
Glyphosate. Those studies do not have empirical exposure data to evaluate exposure levels. For
this report, I have reviewed epidemiological studies on Glyphosate with a focus on individual
studies that take the extent of exposure into account.
Some studies [e.g. Eriksson 2008, McDuffie 2001, Andreotti 2018] used data on yearly or
lifetime days of use to evaluate dose. One can also see these studies referenced in the meta-
analyses [e.g., Pahwa 2019, Zhang 2019]. Days of use without considering the extent of
exposure provides some information, but is still a crude measure of dose. For example,
McDuffie appears to have combined an individual who was exposed to Glyphosate-based
herbicides three times a year with someone who was exposed to Glyphosate 300 times a year.
Assuming those two individuals used Glyphosate-based herbicides in the same manner, the dose
to the latter would be a 100 times greater than the former. On the other hand, if someone who
only used Glyphosate herbicides one day a year with extremely large quantities as opposed to
someone who used it 3 days a year at a lower quantity, the one day user may very well have had
a larger exposure. Additionally the McDuffie and Errikson studies do not control for
confounding variables that may influence outcome, eg family history of cancer.
Andreotti 2018, using a peer-reviewed methodology as reported in the Dosemeci 2002 and Coble
2011 studies, applied an intensity-weighted dose metric to its evaluation of the relationship
between Glyphosate-based herbicide exposure and NHL. This metric considered the use of
personal protective equipment (PPE) worn by applicators, which is an important variable to
consider as one evaluates intensity of exposure. They also identified method of application.
Though not a “real-time” dose assessment like biomonitoring, recording the use of PPE as one
variable to characterize exposure, it is an important step in understanding whether any dose-
response relationship exists between Glyphosate-based herbicides and cancer. Additionally,
Andreotti controlled for other potential confounders. The results from Andreotti 2018, a relative
risk below 1.0 for each exposure group were reported, suggesting that there is no relationship
between Glyphosate-based herbicides and NHL. Because the Andreotti study considers dose
metrics and because it controls for potential confounding factors, it is my professional Industrial
Hygiene opinion that it is a stronger study than studies like the McDuffie or Eriksson studies for
several reasons such as the Andreotti study is an extremely large cohort study, consisting of
54,251 pesticide applicators, rather than a case control study with a limited population. Apart
from being the largest cohort study I reviewed, the researchers considered, exposure by
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frequency of use, method of application and use of personal protective equipment as well as
considered for other pesticide use.
   6. The following are my comments on the report of Plaintiff’s expert, Dr. William Sawyer
      that relate to industrial hygiene.
Based on my review of Dr. Sawyer’s report, I find a number of areas in which Dr. Sawyer and I
disagree, as follows:
   A. Glyphosate is minimally absorbed, regardless of whether the exposure is to
      Glyphosate alone or formulated products containing Glyphosate, surfactants, and
      manufacturing impurities.
Dr. Sawyer writes that the body absorbs up to 10% of the Glyphosate to which the skin is
exposed and that surfactants speed the absorption process by damaging the epidermis. [Van
Burgsteden 2003]
Dr. Sawyer’s statement concerning the extent of absorption is based on one, outlying result in
rats, a result that shows greater absorption than other rodent studies or the large number of
human in vitro studies. In fact, even the study authors generating the result upon which Dr.
Sawyer relies concluded that “the poor recoveries combined with the high variation within the
Glyphosate test groups make the data generated in this study unsuitable for risk assessment.” As
I explained earlier in this report that, Franz 1983 and Nielsen 2009 have reported the flux
between 0.01 to 0.059 [as shown and converted to same units] ug/cm2/hr for Glyphosate. No
study using human skin indicates a percent of absorption greater than 2.2% [Wester 1991] and
most are below 1% [Franz 1983, Smith 2014, Ward 2010].
Dr. Sawyer’s claims concerning the effects of surfactants are similarly unsupported by the
existing scientific literature. Early studies looked at Glyphosate, a concentrated Roundup, and a
Roundup spray mix. A comparison of the results from the concentrated and diluted Roundup
results shows that rather than decreasing as the surfactants were diluted, the percent of
Glyphosate absorbed increased with the dilution of the surfactants. [Franz 1983] The results of
human in vitro studies of human skin suggest that the presence of surfactants in formulated
Glyphosate products does not affect the skin.


   B. Glyphosate does not remain in the human body for long but is, instead, quickly
      excreted.
In his disclosure, Dr. Sawyer contends that Glyphosate bioaccumulates in skin and bone, and he
then contends that it can be systemically available throughout the body. Dr. Sawyer’s contention
is not supported by the existing literature.
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My review of the literature indicates that the body quickly eliminates the small amounts of
Glyphosate that may have been absorbed. Various studies I have reviewed show a rapid
elimination of Glyphosate in the urine, both in animals and in humans. [Wester 1991, Connolly
2018, Maibach 1983]. Wester 1991 reported that the majority of each dose of Glyphosate was
excreted in the urine within 24 hours following intravenous administration to monkeys.
Connolly 2018 reported on biomonitoring which showed that, within a 24 hour period,
Glyphosate urinary levels of human subjects peaked within 3 hours and then declined
considerably by the next morning. This is consistent with the finding of Maibach 1983 that the
majority of urinary excretion by monkeys who had Glyphosate injected took place within the
first 24 hour period. ATSDR states that “approximately two-thirds of an oral dose of Glyphosate
is excreted in the feces as unabsorbed parent compound.” [ATSDR 2019] Ingestion would not
be a common route of exposure for a worker/applicator and therefore, based on my review of the
scientific literature, it seems that most dermally absorbed Glyphosate is rapidly excreted in the
urine.
   C. Manufacturing impurities are not relevant.
Dr. Sawyer’s discussion of manufacturing impurities in Glyphosate (such as formaldehyde,
ethylene oxide, 1,4 dioxane, and n-nitrosoGlyphosate) is not tied to any proper exposure
analysis. Dr. Sawyer notes the existence of trace manufacturing impurities, but the levels of
these may be so low, that they are not reportable under the OSHA Hazard Communication
Standard. More importantly, Dr. Sawyer has not demonstrated that these impurities, if present,
are causes of ill health at the potential level of exposure, or are related to NHL. Dr. Sawyer may
have identified potential hazards, but he is not addressing risk; without taking the actual
exposure and dose of these substances into account.
   D. The days-of-exposure measurements are too crude to result in any accurate measure
      of dose.
In his report, Dr. Sawyer argues that Mr. Hernandez had an increased risk of NHL because he
used Roundup more than two days a year and had used it for more than ten days over his
lifetime, citing two case-control studies. [McDuffie 2001; Eriksson 2008]. Above, I explained
that these measurements are crude measures of dose, both because the groupings within each
study combine in one category of individuals with far different actual exposures and because,
between categories, those in the higher-day categories have not necessarily received higher
doses. With regard to Mr. Hernandez, Dr. Sawyer makes no effort to try to quantify the dose of
Glyphosate to which Mr. Hernandez was exposed as I have done. As such, I do not understand
how Dr. Sawyer can state that Mr. Hernandez’s dose was toxicologically significant.
   E. Applicators who do not wear personal protective equipment (PPE) still do not
      exceed the doses set by various regulatory agencies.
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